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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                           COLUMBUS DIVISION

JERRY NELSON, as personal       *
representative of the Estate of
Eddie Lee Nelson, Jr., and      *
MICHELE DUSHANE, as surviving
spouse of Eddie Lee Nelson,     *
Jr.,
                                *
     Plaintiffs,
                                *
                                                  CASE NO. 4:20-cv-213 (CDL)
vs.
                                *
CORRECTHEALTH MUSCOGEE, LLC,
OFFICER KEYVON SELLERS, NURSE   *
KIMBERLY BRAXTON, and ANGELA
BURRELL, RN,                    *

     Defendants.                        *


                                  O R D E R

     This    action   arises     from   the    tragic     death      of   Eddie     Lee

Nelson.     Nelson was a pretrial detainee in the Muscogee County

Jail when his cellmate, Jayvon Hatchett, killed him.                      Plaintiffs

are Nelson’s surviving spouse and the representative of Nelson’s

estate.     They assert claims under 42 U.S.C. § 1983 against one

corrections     officer   and    two    nurses,     arguing        that   they      were

deliberately indifferent to a known, substantial risk of serious

harm posed by Hatchett.         Plaintiffs also assert state law claims

against   the   nurses    and   their    employer.        Defendants’        summary

judgment motions are pending.               As discussed below, the Court

denies the summary judgment motions filed by Keyvon Sellers and
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Kimberly Braxton (ECF Nos. 148 & 170).              The Court also denies

the summary judgment motion filed by CorrectHealth Muscogee, LLC

(ECF No. 172).       The Court grants the summary judgment motion

filed by Angela Burrell (ECF No. 171).

                       SUMMARY JUDGMENT STANDARD

     Summary judgment may be granted only “if the movant shows

that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.”                     Fed. R.

Civ. P. 56(a).       In determining whether a            genuine dispute of

material fact exists to defeat a motion for summary judgment,

the evidence is viewed in the light most favorable to the party

opposing summary judgment, drawing all justifiable inferences in

the opposing party’s favor.         Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 255 (1986).        A fact is material if it is relevant

or necessary to the outcome of the suit.            Id. at 248.        A factual

dispute is genuine if the evidence would allow a reasonable jury

to return a verdict for the nonmoving party.             Id.

                             FACTUAL BACKGROUND

     Unless otherwise noted, the following facts are undisputed

for purposes of the present motions.

     On August 25, 2020, Jayvon Hatchett, who is black, entered

an AutoZone store and stabbed a white clerk in the back multiple

times.    Hatchett     was    arrested   the    next     day    on   charges     of

aggravated   assault    and     possession     of    a    knife      during     the


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commission of a crime.             Neither the arrest paperwork nor the

arrest warrant indicates the victim’s race or suggests that the

stabbing   was   racially      motivated,        but     the     transport     officer,

Columbus   Police     Department      Corporal         Antonio     Burgess,     learned

about the nature of Hatchett’s violent conduct and the racial

motivation    behind    it,    and    he       shared     that    information          with

Braxton and Sellers when he brought Hatchett to the Jail.

     Hatchett arrived at the Jail at around 1:13 p.m.                            Due to

COVID-19, arrestees had to be medically screened by a nurse

before being admitted to the Jail.                     Burgess and Hatchett sat

quietly for a few minutes as they waited for a nurse, then

Burgess, who is black, asked Hatchett, “why.”                      Def.’s Notice of

Manual       Filing         Attach.        1,          MCJ        Security        Video

“20200826HATCHETINTOXAREAWITHMIC.exe” 1:16:21 PM to 1:16:36 PM

ECF No. 149.      Hatchett responded something along the lines of

“they been shoot killing black people.”                      Id. at 1:16:40 PM to

1:16:45 PM.      Burgess lectured Hatchett for a few minutes about

black-on-black      crime    and    shared      his     thoughts       on   “agitators”

within the Black Lives Matter movement.                      Id. at 1:16:46 PM to

1:20:22 PM.      Burgess again asked Hatchett why he did it, and

Hatchett referenced a video.           Id. at 1:24:13 PM to 1:24:24 PM.

Burgess responded, “that don’t make no sense, man,” said he was

surprised Hatchett “didn’t get killed for some damn, f***ing




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racial charge,” then confirmed that the stabbing victim was “a

white guy.”        Id. at 1:24:25 PM to 1:24:36 PM.

       Nurse Kimberly Braxton entered the room to screen Hatchett

for COVID-19.        Her job was to have incoming inmates complete a

form about their possible exposure to COVID-19 and to take each

inmate’s vital signs.             As Braxton was screening Hatchett, she

and Burgess had the following exchange with Hatchett:

       Burgess: Listen to this young man’s story.   He went
       to the AutoZone and stabbed a white man just because
       of what’s happening.

       Braxton:     You hurt somebody?

       Burgess:     Just because of what’s happening with . . .

       Braxton:     What you stab him with?

       Burgess: A knife!    Just because of what’s happening
       with all this other, you know, police shooting stuff.

       Braxton:     Oh, my God!      How old are you?

       Hatchett: Nineteen.

       Braxton:     Oh, baby.

       Burgess: Can you believe that? I’m trying to have a
       man-to-man talk with him . . . why.    Don’t he know
       that’s a hate crime?   I’m surprised they didn’t hit
       him up with that.   I would have thrown the book at
       you, man.

Id. at 1:26:11 PM to 1:26:46 PM.

       Braxton recognized Hatchett from when he had been arrested

a few days earlier, and she believed she had a good rapport with

him,    so   she    asked   him   why   he   stabbed   the   clerk.      Hatchett

responded that he was “just upset because somebody has to do


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something.”        Burgess       Dep.     Ex.       1,    Investigative      Rep.      at

Nelson000915,     Sept.    18,    2020,       ECF    No.    151-1     (“Investigative

Rep.”).1    Braxton responded, “Son, this ain’t the way to do it.”

Id.    Braxton believed that something was “a little off” about

Hatchett and that “he just wasn’t altogether there,” although he

“didn’t seem violent to” her while he was in her presence.                            Id.

Braxton recommended a psychological exam for Hatchett because of

his crime and his temperament.                Id.        Braxton did not tell her

supervisor or anyone else at the Jail about what she learned

about Hatchett’s crime, although she later stated that when an

inmate tells an intake nurse that he has a disdain for others

because of their race, the intake nurse relays that information

to Jail officers because “you want to keep them separated.”

Braxton Dep. 46:17-47:8, ECF No. 152.2

      After his COVID-19 screening, Hatchett was booked into the

Jail, and correctional officer Keyvon Sellers met Hatchett at

the booking wall for a pat down and initial processing.                            While

Sellers was doing his work, Burgess and Hatchett spoke to him:

      Burgess:    Tell him what you did.

      Hatchett: I    had   seen     the    video         . . .   killing   black
      people.



1 Plaintiffs submitted various portions of the Investigative Report as
separate exhibits.   For the sake of simplicity, the Court cites the
complete report that is an exhibit to Burgess’s deposition.
2 Plaintiffs pointed to the expert report of Angela Goehring, which

cites this deposition testimony.


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      Burgess: That guy in Wisconsin that got shot? So he
      goes to AutoZone and stabs a white guy in the back.

Def.’s Notice of Manual Filing Attach. 2, MCJ Security Video

“8_Hatchettonwall@Booking.mp4,” 9:30-9:48, ECF No. 149.                                 Sellers

later reported to an investigator that Hatchett said, “I was

watching the news and I decided I was gonna stab a white guy.”

Investigative Rep. at Nelson000913.                     Sellers testified that if

he learns something during the intake process that makes him

believe that the inmate “needs to be housed alone, or might not

get along . . . with others,” then he passes that information to

his “sergeant in classification,” to “see if we need to get him

a   single   man    cell.”       Sellers        Dep.    16:25-17:7,            ECF    No.    153.

Sellers did not tell his sergeant anything about Hatchett; he

testified    that    “the     way    [Burgess          told      him    about        Hatchett’s

crime]   didn’t     give     [him]    any   reason          to    think       he   would     hurt

anybody while he was in our custody.”                       Id. at 18:12-17.                It is

undisputed    that     Hatchett       was   calm,           cooperative,           quiet,     and

polite during the intake process.                 During the afternoon, Sellers

told two of his colleagues, deputy Billy Lee and correctional

officer Sharon Peters, about Hatchett—that he had watched the

news and stabbed a white clerk in the back.                               Sellers did not

discuss Hatchett with any classification officers.

      Hatchett      spent    the     afternoon         in     the      male    holding       cell

without incident.           He   had his medical                 intake screening with




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nurse Angela Burrell around 8:20 p.m.                             Hatchett denied suicidal

thoughts,     and      Burrell          concluded       that       he    did    not     show      signs

suggesting        a    risk        of    suicide        or        self-injurious            behavior.

Hatchett reported that he did not have any physical or mental

complaints,       and       Burrell       did    not    observe          any    acute       signs    or

symptoms suggesting            he needed           immediate medical intervention.

Burrell     asked      Hatchett          whether       he    had    a     history       of       violent

behavior, and he told her that he stabbed someone.                                     Hatchett did

not    volunteer       any    other       information             about    the       stabbing,       and

Burrell     did       not    ask.          Burrell          did    note        the     stabbing       on

Hatchett’s intake screening form.                       Sellers Mot. Summ. J. Ex. 12,

Hatchett Intake Screening Form at Nelson004843, ECF No. 148-14.

Hatchett did not tell Burrell that he wanted to kill a white

person or a police officer.                     Burrell Dep. 75:12-17, ECF No. 162.

He    did   not   make       any    threats.           Burrell          recommended          a    mental

health evaluation because of Hatchett’s overall demeanor.

       A classification officer interviewed Hatchett to determine

his security level.                Among other questions, the classification

officer asked Hatchett if he needed to be kept separated from

anyone.      Streeter Dep. 10:1-10, ECF No. 176.                               Hatchett did not

tell the classification officer that he wanted to kill a white

person, that he had stabbed a white person, or that he was upset

about police shootings he saw on the news.                               Id. at 16:17-25.            If

someone     had       told    the        classification             officer          that    Hatchett


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stabbed a white person and stated that he wanted to kill a white

person, then the classification officer “would have tried to put

him separate from the other race” or “by himself.”                         Id. at 17:6-

19.     Hatchett was        classified as a “maximum security” inmate

because he was charged with a violent crime.

       After    his   initial      classification            and   medical    screening,

Hatchett was moved from the male holding cell to a COVID-19

quarantine cell with an inmate named Rae Nolan, who is white.

The next day, on August 27, 2020, Sellers and another officer

escorted      Hatchett      to   the   office     of     a    licensed      professional

counselor named Jacqueline White, who completed a mental health

evaluation of Hatchett.             She asked Hatchett specific questions

to    help    her   gauge    his    mental     state,        and    she   observed       his

behavior.       Although White knew that Hatchett had been arrested

for aggravated assault, she did not know any specifics about

Hatchett’s crime or the motivation for it, and she did not ask.

At the end of her assessment, White concluded that Hatchett did

not pose a threat to himself or others, and she determined that

he did not need to be housed in a solitary holding cell.

       Also on August 27, 2020, Nelson joined Hatchett and Nolan

in    the    quarantine     holding    cell.       Like        Hatchett,     Nelson      was

classified as a maximum-security inmate.                           Hatchett told both

Nolan and Nelson that he had been watching a video about police

shootings that made him mad, and he stabbed the first white man


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he saw.      According to Nolan, there was no tension between him,

Hatchett, and Nelson, and there were no racial slurs.                          Nolan was

relocated       to   another       cell    on    August    31,       2020.      Clifford

Sheppard, who is black, joined Nelson and Hatchett in the cell

on   September       1,    2020.        Sheppard   reported      that     Hatchett      and

Nelson were buddies who played cards together.                            Sheppard was

moved to another cell on September 4, 2020.                           On September 4,

2020,     Nelson     saw    a   nurse     for    shortness      of    breath,     and    he

reported that he had been having out of body experiences.                                He

did not report that anyone had made threats of violence against

him.     After the nurse found that Nelson’s temperature and oxygen

levels were normal, she sent him back to his cell with Hatchett.

        Between August 27 and September 4, Sellers worked on the

floor where Hatchett and Nelson were housed three times.                          He did

not see Hatchett display any behavior suggesting that he posed a

threat to another inmate.                 Neither Nelson nor Nolan voiced any

concern to Sellers about being in danger from or threatened by

Hatchett, and there is nothing in the Jail records to suggest

that     they    complained        of    threats   to     any    other       correctional

officer.        Plaintiffs acknowledge that they have no evidence that

Hatchett made threats of violence to anyone at the Jail during

his incarceration.           If Hatchett had made threats against Nelson

or white people, or if Hatchett had voiced a desire to kill or

harm someone, he would have been reassigned to other housing.


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        At 1:30 a.m. on September 5, 2020, an inmate alerted a

correctional officer to a disturbance in Hatchett and Nelson’s

cell.     The correctional officer saw Hatchett kneeling on Nelson

with his hands around Nelson’s neck.                     Nelson was covered in

blood.     The correctional officer ordered Hatchett to get off of

Nelson, but Hatchett refused and stated, “he put a hair in my

sandwich.”         Golden   Dep.    19:3-4,       ECF   No.   164.       When    backup

arrived, Hatchett got off of Nelson’s body, and the officers

tried to resuscitate Nelson. They could not save him, and Nelson

was    pronounced     dead.        When    investigators       later     interviewed

Hatchett, he told them that he killed Nelson over a hair in his

sandwich.

        Hatchett    underwent      an     emergency     psychiatric        evaluation

shortly after he killed Nelson.                 According to the psychiatrist’s

notes,    Hatchett     “mentioned       about     his   roommate       talking    about

racial    things.     vague    about      the    sequence     of     events   occurred

between the two. Later the incident occurred.”                        Pls.’ Resp. to

Defs.’ Mot. Summ. J. Ex. 12, Psychological Progress Note, ECF

No. 188-12.        After the mental health evaluation, an investigator

noted, “INMATE IS TO BE KEPT ALONE, ESPECIALLY FROM INDIVIDUALS

OF WHITE RACE.”         Pls.’ Resp. to Defs.’ Mot. Summ. J. Ex. 10,

Jail Inmate Comment Page, ECF No. 188-10.




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                                  DISCUSSION

        Plaintiffs    brought    § 1983     claims    against         Braxton     and

Sellers, asserting that they were deliberately indifferent to a

known    risk   of    serious   harm   to   Nelson,    in    violation      of    the

Fourteenth      Amendment.3       Plaintiffs    also        brought      state    law

negligence claims against Braxton, Burrell, and CorrectHealth

Muscogee, LLC.       The Court addresses each claim in turn.

I.      Section 1983 Claims Against Braxton and Sellers

        Jail and prison officials have a duty to protect inmates

from violence at the hands of other inmates.                 Mosley v. Zachery,

966 F.3d 1265, 1270 (11th Cir. 2020).4                But, not every injury

suffered by one inmate at the hands of another “translates into

constitutional liability for prison officials responsible for

the victim’s safety.”           Brooks v. Warden, 800 F.3d 1295, 1301

(11th Cir. 2015) (quoting Farmer v. Brennan, 511 U.S. 835, 834

(1994)).        A    constitutional    violation      only      occurs     when   an

official is subjectively aware of a “substantial risk of serious

3 Plaintiffs initially brought a § 1983 deliberate indifference claim
against Burrell, but they abandoned that claim. Pls.’ Resp. to Defs.’
Mots. for Summ. J. 3-4 & n.1, ECF No. 188.        Burrell is therefore
entitled to summary judgment on this claim.
4 Nelson was a pretrial detainee when Hatchett attacked and killed him,

so Plaintiffs’ claims arise under the Fourteenth Amendment’s Due
Process Clause.    Grochowski v. Clayton Cnty., 961 F.3d 1311, 1318
(11th Cir. 2020).    A jail “official’s deliberate indifference to a
known, substantial risk of serious harm to an inmate violates the
Fourteenth Amendment.”      Id. (internal quotation marks omitted)
(quoting Keith v. DeKalb Cnty., 749 F.3d 1034, 1047 (11th Cir. 2014)).
In analyzing Fourteenth Amendment deliberate indifference claims, the
Eleventh Circuit applies decisional law on Eighth Amendment deliberate
indifference claims because the standard is the same in both contexts.
Id.


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harm” but does not respond reasonably to the risk.                      Mosley, 366

F.3d at 1267-68 (quoting Marsh v. Butler Cnty., 268 F.3d 1014,

1028    (11th Cir. 2001) (en banc),               abrogated on other grounds

abrogated on other grounds by Bell Atl. Corp. v. Twombly, 550

U.S. 544 (2007)).          To prevail on a failure-to-protect claim

“brought     under    §    1983,    the        plaintiff    must     show:    (1)    a

substantial risk of serious harm; (2) the defendants’ deliberate

indifference to that risk; and (3) a causal connection between

the    defendants’    conduct      and    the    [constitutional]       violation.”

Brooks, 800 F.3d at 1301.

       “The first element of deliberate indifference—whether there

was a substantial risk of serious harm—is assessed objectively

and requires the plaintiff to show ‘conditions that were extreme

and posed an unreasonable risk of serious injury to his future

health or safety.’”            Marbury v. Warden, 936 F.3d 1227, 1236

(11th Cir. 2019) (per curiam) (quoting Lane v. Philbin, 835 F.3d

1302, 1307 (11th Cir. 2016)).                  For the second element—whether

the    defendant     was   deliberately         indifferent     to    the    risk—the

“official must both be aware of facts from which the inference

could be drawn that a substantial risk of serious harm exists,

and . . . also draw the inference.”                   Id. (internal quotation

marks omitted) (quoting Rodriguez v. Sec’y for Dep’t of Corr.,

508 F.3d 611, 617 (11th Cir. 2007)).                   Deliberate indifference




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exists      if   the    official     responds           to   the     known    risk     in    an

objectively unreasonable manner.                  Id.

       To    establish     the      “substantial             risk    of   serious       harm”

element, there “must be a ‘strong likelihood’ of injury, ‘rather

than a mere possibility,’ before an official’s failure to act

can constitute deliberate indifference.”                            Brooks, 800 F.3d at

1301   (quoting        Brown   v.    Hughes,        894      F.2d     1533,    1537     (11th

Cir.1990) (per curiam)).                  That is because “[t]he unfortunate

reality is that ‘threats between inmates are common and do not,

under all circumstances, serve to impute actual knowledge of a

substantial risk of harm.’”                Marbury, 936 F.3d at 1236 (quoting

Prater v. Dahm, 89 F.3d 538, 541 (8th Cir. 1996)).                             “Successful

deliberate-indifference             claims        will       generally       require        some

further      reason—beyond          the     plaintiff          having        informed       the

defendant officers of the threat—that a prison official could

have concluded that a particular threat evidenced a substantial

threat, rather than the mere possibility, of serious harm.”                                 Id.

       A plaintiff can establish a substantial risk of serious

harm by showing that jail officers knew of a specific threat

against an inmate.5            Rodriguez, 508 F.3d at 621-22.                           But a


5 A plaintiff can also establish a substantial risk of serious harm by
demonstrating that the jail’s conditions were so extreme that they
posed an unreasonable risk of serious injury.      Marsh, 268 F.3d at
1029.   In Marsh, the plaintiff met that standard because he alleged
facts to show that he was confined to a prison “where violent
prisoners” were “allowed free reign of a jail with easy access to
weapons without proper supervision by guards.”    Id.  Plaintiffs rely


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specific    threat       is    not    necessary      if     there      is    enough      other

information to show a specific risk of serious harm.                                In Bowen

v. Warden, for example, there was no specific threat before an

inmate   killed    his        cellmate,     but     the    officers         had    plenty     of

information to suggest that the attacker posed a specific risk

of serious harm to any potential cellmate.                        826 F.3d 1312, 1321

(11th Cir. 2016).              Specifically, officers knew that (1) the

attacker    was    a    convicted       murderer,         (2)    the   attacker         was   “a

severe     paranoid       schizophrenic           who      suffered         from    auditory

hallucinations and violent delusions involving his cellmates,”

(3) the prison designated the attacker as a “Level III mental

health inmate” who could experience “delusional thinking and/or

hallucinations,” (4) the attacker had recently been placed alone

in a lock-down cell for assaulting his previous cellmate, and

(5) the prison’s guidelines required that the attacker be housed

alone under the circumstances.                Id. at 1322 (internal quotation

marks and citations omitted); cf. Rodriguez, 508 F.3d at 621-22

(finding    that   the        plaintiff     adequately          alleged     a     substantial

risk of serious harm because the prison was heavily populated

with members of the plaintiff’s former gang and the plaintiff

told   officers        that    some    of   the     gang    members         in    the   prison

repeatedly told the plaintiff that they planned to kill him for


heavily on Marsh, but this action is not factually analogous to Marsh—
this is not a general conditions of confinement case. Rather, it is a
case about the degree of risk posed by a specific inmate.


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renouncing his gang membership); Scott v. Miami Dade Cnty., 657

F. App’x 877, 882 (11th Cir. 2016) (per curiam) (finding that

the    plaintiff    adequately    alleged     credible    ongoing     threats      by

gang members that jail officials ignored).

       Here, although there is no evidence that Hatchett made any

specific threats of violence to anyone at the Jail during his

incarceration, a reasonable jury could conclude that Sellers and

Braxton both had enough information to infer that Hatchett posed

a substantial risk of serious harm to white inmates because of

the nature of his underlying crime.6            Construing the evidence in

the    light    most      favorable    to    Plaintiffs     and     drawing       all

reasonable inferences in their favor, Sellers and Braxton knew

that    (1)    Hatchett    violently    attacked    the   AutoZone      clerk      by

stabbing him repeatedly; (2) Hatchett attacked the clerk without

provocation, targeting him solely because he was white; (3) the

only reason Hatchett stabbed the clerk was because he was white;

(4) Hatchett’s sole motivation for his attack of the clerk was

his    irrational      response   to   the    racially    charged      atmosphere

connected to the widespread publicity of whites killing blacks.

Despite this knowledge, neither Sellers nor Braxton passed the



6 Braxton was employed by a private company that had a contract to
provide medical services to Jail inmates.    She does not dispute that
she acted under color of state law for purposes of this § 1983 action.
See West v. Atkins, 487 U.S. 42, 57 (1988) (concluding that physician
contracted to provide medical services to state inmates acts under
color of state law when he treats an inmate).


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critical information to the Jail officials who were responsible

for determining if Hatchett posed a safety risk to others.

       Based on this evidence, a jury could conclude that any

reasonable corrections officer or intake nurse would have known

that Hatchett posed a substantial risk of serious harm to a

white detainee.           Braxton and Sellers seem to contend that they

did    not    draw    any   inference     of   a    substantial       risk    from    the

information they had, but a jury could conclude otherwise.                            See

Farmer, 511 U.S. at 842 (“Whether a prison official had the

requisite knowledge of a substantial risk is a question of fact

subject to demonstration in the usual ways, including inference

from circumstantial evidence[.]”).                  Finally, a factfinder could

conclude that doing nothing to make sure that the information

about Hatchett’s violent, racially motivated attack was conveyed

to    a      classification      officer       or    mental     health        evaluator

constituted deliberate indifference to the risk.

       The     Court      understands     that       there    is      no     deliberate

indifference         if   the   officer    only     knows     facts    suggesting      a

generalized possibility of a risk of harm.                         See Marbury, 936

F.3d at 1237 (finding that a vague report of nebulous threats

was not sufficient to establish a substantial risk); Carter v.

Galloway, 352 F.3d 1346, 1349-50 (11th Cir. 2003) (per curiam)

(concluding that simply reporting that a cellmate was acting

like a “caged animal” and had asked for help faking a hanging


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were not enough to show that the prison officials were aware of

a    substantial     risk);      Brown,    894    F.2d        at   1537     (finding       no

constitutional violation when an officer declined to do anything

after the plaintiff reported a “racial problem” in his cell).

The Court, though, finds that the facts here are more analogous

to those in Bowen than to those in Marbury, Carter, and Brown.

Again, Bowen establishes that an inmate need not make a specific

threat    against       another;    a   deliberate       indifference            claim   may

still    exist     if     the   officers    had    sufficient            information      to

suggest that the inmate posed a specific risk of serious harm.

Bowen, 826 F.3d at 1321.

        Sellers and Braxton contend that even if there is a genuine

fact     dispute     on    deliberate      indifference,           Plaintiffs       cannot

establish causation.            In general, to establish the necessary

causal link, the plaintiff must show that the prison official

“(1)    ‘had   the      means   substantially       to    improve’         the    inmate’s

safety,    (2)     ‘knew     that    the   actions       he    undertook         would    be

insufficient to provide the inmate with reasonable protection

from violence,’ and (3) had ‘other means available to him which

he   nevertheless         disregarded.’”         Rodriguez,        995    F.2d     at    1539

(alterations adopted) (quoting LaMarca v. Turner, 995 F.2d 1526,

1539 (11th Cir. 1993)).

        Sellers and Braxton argue that Plaintiffs cannot establish

that their conduct caused Nelson’s death because they had no


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role    in    classification       or    housing       decisions.       But   Sellers

himself testified that when he learned that an inmate might not

get along with others, he alerts Jail classification officials

so   that    the   inmate    could      be    placed      appropriately.      Braxton

admitted that if she learned that an inmate had a disdain for

others because of their race, she would relay that information

to Jail officers so they could keep the inmate separated.                             In

addition, Braxton       could refer a             patient for a mental health

evaluation that would determine whether he was a safety risk to

himself or others and thus whether he needed to be housed alone.

Moreover, a classification officer confirmed that if she had

known   what Sellers and Braxton knew                   that Hatchett stabbed a

white person simply because of his race she would have tried to

make sure that he was housed alone or apart from white inmates.

From this evidence, a reasonable jury could conclude that both

Sellers      and   Braxton   had   the       means   to    improve    the   safety    of

inmates who might be housed with Hatchett despite the risks he

posed, but they both decided to do nothing.                     Thus, a reasonable

jury could find a causal link between Nelson’s death and the

decision by Sellers and Braxton not to tell anyone what they

knew about Hatchett.           A genuine factual dispute exists as to

whether       their    deliberate        indifference         proximately       caused

Nelson’s death.




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        Sellers also argues that his conduct was not the proximate

cause    of    Nelson’s    death       because       Hatchett     reported    that       the

attack was over a hair in his sandwich.                     Thus, Sellers contends,

it is pure conjecture to conclude that Hatchett attacked Nelson

because of his race.           But Hatchett also stated that his roommate

was talking about racial things before the attack, so the Court

finds that there is a genuine fact dispute on this issue.

        Finally, Sellers argues that even if there are genuine fact

disputes      on     deliberate     indifference           and    causation,        he   is

entitled to qualified immunity.7                     Qualified immunity protects

government      officials      acting     in      their    discretionary      authority

from liability for civil damages if their “conduct does not

violate clearly established statutory or constitutional rights

of which a reasonable person would have known.”                              Pearson v.

Callahan,      555     U.S.     223,     231       (2009)      (quoting      Harlow      v.

Fitzgerald, 457 U.S. 800, 818 (1982)).                           As discussed above,

there is a genuine fact dispute on whether Sellers violated

Nelson’s      Fourteenth      Amendment      rights       by   disregarding     a    known

substantial risk of serious harm.                      And, as reflected in the

authority      discussed      above,    it     was    clearly     established       before

September 5, 2020 that jail officials have a duty to protect

inmates from violence at the hands of other inmates and that

officials can be held liable if they knew of a substantial risk

7   Braxton did not assert the defense of qualified immunity.


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of    inmate-on-inmate       violence     but    disregarded       that       risk     and

failed to take reasonable measures to minimize it.                        If the jury

accepts Plaintiffs’ version of what happened, they will have

concluded that Sellers knew that Hatchett posed an unreasonable

risk of harm to white detainees and that he should not be housed

with white detainees, yet, Sellers informed no one of this risk.

He was completely indifferent to the known and substantial risk

that by remaining silent, Hatchett could be housed with a white

detainee.     Based on these findings, if made by the jury, Sellers

violated     Nelson’s     clearly      established      constitutional         rights.

Accordingly, Sellers is not entitled to qualified immunity.

       In summary, genuine fact disputes preclude summary judgment

on Plaintiffs’ § 1983 claims against Sellers and Braxton.

II.    State   Law    Claims   Against             Braxton,            Burrell,        and
       CorrectHealth Muscogee, LLC

       In   addition    to   their     § 1983    claims       against    Braxton       and

Sellers, Plaintiffs assert state law claims against Braxton, and

Burrell, as well as claims against the nurses’ employer under a

respondeat     superior      theory.      The    claims       against    Braxton       and

Burrell are under a professional negligence theory, though they

are not classic medical malpractice claims.                     Rather, Plaintiffs

assert      that   Braxton     and     Burrell    had     a     duty     to    exercise

reasonable care to control Hatchett to prevent him from causing

physical harm to others.




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       A medical practitioner “generally has no duty to exercise

control over third persons to prevent them from harming others.”

Bruscato v. Gwinnett-Rockdale-Newton Cmty. Serv. Bd., 660 S.E.2d

440, 443 (Ga. Ct. App. 2008) (quoting Gilhuly v. Dockery, 615

S.E.2d    237,    239    (Ga.   Ct.    App.       2005)).      “A    narrow   exception

exists to this rule in situations where a [medical practitioner]

has control over a patient who is known to be violent and causes

harm to others.”         Id. (quoting Gilhuly, 615 S.E.2d at 239).                     For

the exception to apply, the medical practitioner generally must

have control over a patient, and the medical practitioner “must

have known or reasonably should have known that the patient was

likely to cause bodily harm to others.”                     Id.       For purposes of

this test, “control” means the legal authority to confine or

restrain.       Keppler v. Brunson, 421 S.E.2d 306, 307 (Ga. Ct. App.

1992).     So, if a medical practitioner has authority to maintain

control over a patient and if the medical practitioner knows of

the    danger    the     patient    poses     if     control    is    not     reasonably

maintained, then the medical practitioner can be liable under

this narrow exception.

       Braxton contends that she had no duty to warn anyone about

Hatchett because she had no information suggesting that he was

likely    to     cause    bodily      harm    to    another     inmate.        But,    as

discussed above, a jury could, viewing the evidence in the light

most favorable to Plaintiffs, conclude that Braxton knew the


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violent,       racially            motivated             circumstances           of      Hatchett’s

underlying crime and thus knew or should have known that he was

likely    to    cause           bodily      harm     to     a     white       detainee.          Plus,

Plaintiffs’       correctional              healthcare          nurse     expert      opined      that

Braxton breached her duty by failing to report Hatchett’s motive

for the underlying stabbing, failing to document her interaction

with Hatchett, failing to alert security staff of Hatchett’s

violent potential, and failing to refer him for an emergency

mental health screening.                      Pls.’ Mot. Exclude Ex. 2, Goehring

Rep. 19, ECF No. 182-2.                      Finally, a jury could also conclude

that Braxton could have exercised control over Hatchett because

there is evidence that if Braxton had disclosed what she knew

about    Hatchett’s             underlying      crime,          he     would     have    been     kept

separate       from    other           inmates.           Thus,        genuine    fact        disputes

preclude       summary          judgment       on        Plaintiffs’          state     law     claims

against Braxton.

        Plaintiffs have failed to point to evidence to establish

that Burrell knew or should have known that Hatchett was likely

to harm others.                 Plaintiffs do not dispute that Burrell was

never    informed          of    the    circumstances             of    Hatchett’s       underlying

crime—that he was upset about police shootings of black people

and     decided       to        stab    a     random       white        man    for      no     reason.

Plaintiffs        speculate            that     if        Burrell        had     asked        Hatchett

different or additional follow-up questions, Hatchett might have


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disclosed additional facts about his mental state or the reasons

for his underlying crime.              Such speculation is not sufficient to

create a genuine fact dispute.                    Accordingly, Burrell is entitled

to summary judgment on Plaintiffs’ state law claims.

        The   remaining       Defendant       is     CorrectHealth       Muscogee,         LLC,

which     argues       that     it      is     not     a     proper        party     because

CorrectHealth, LLC employed Braxton, not CorrectHealth Muscogee,

LLC.     CorrectHealth Muscogee, LLC did not cite any evidence in

support       of    this   assertion;        it    only     cited    its    own     answers.

Moreover, Plaintiffs pointed to evidence that the entity that

entered the health services agreement with the Muscogee County

Sheriff       was    CorrectHealth           Muscogee,      LLC.        Pls.’       Mot.    to

Substitute Ex. 1, Contract, ECF No. 181-1.                           Accordingly, it is

not clear from the present record which CorrectHealth entity

employed       Braxton,       and     CorrectHealth         Muscogee,        LLC     is    not

entitled to summary judgment based on its assertion that it was

not Braxton’s employer.              Both CorrectHealth entities acknowledge

that any claims against them are derivative of the underlying

claims    against      their        employee,      which     means    that     the    claims

against       whichever       entity     employed          Braxton      survive      summary

judgment.            The   Court       grants        Plaintiffs’        motion       to     add

CorrectHealth, LLC as a defendant (ECF No. 196) and terminates

Plaintiffs’ alternative motion to substitute party.                                The Court




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expects the parties to determine which entity employed Braxton

well before trial.

                                CONCLUSION

     For the reasons set forth above, the Court grants Burrell’s

summary judgment motion (ECF No. 171) and denies the summary

judgment motions filed by Sellers, Braxton, and CorrectHealth

Muscogee,   LLC   (ECF   Nos.   148,    170,     172).      The    Court    grants

Plaintiffs’ motion to add CorrectHealth, LLC as a party (ECF No.

196) and terminates their motion to substitute (ECF No. 181).

The Court did not consider the testimony of Mark Ricketts in

ruling on this summary judgment motion, so the Court terminates

the motion to exclude his testimony as moot (ECF No. 182).                    This

action will be tried during the Court’s March 2023 trial term.

     IT IS SO ORDERED, this 5th day of December, 2022.

                                            S/Clay D. Land
                                            CLAY D. LAND
                                            U.S. DISTRICT COURT JUDGE
                                            MIDDLE DISTRICT OF GEORGIA




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